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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


      JAMES M. MESSINO,                  1:20-cv-7443 (NLH)

                   Petitioner,           MEMORANDUM OPINION & ORDER

           v.

      NEW JERSEY STATE PRISON, et
      al.,

                   Respondents.


APPEARANCES:

Jill R. Cohen, Esq.
Law Office of Jill R. Cohen
210 Haddon Avenue
Westmont, NJ 08108

       Attorney for Petitioner


Christine A. Hoffman, Acting Gloucester County Prosecutor
Dana R. Anton, Special Deputy Attorney General
Gloucester County Prosecutor’s Office
P.O. Box 623
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Woodbury, NJ 08096

       Attorneys for Respondent

HILLMAN, District Judge

       WHEREAS, James Messino filed a petition for writ of habeas

corpus under 28 U.S.C. § 2254 on June 18, 2020, see ECF No. 1;

and

       WHEREAS, Respondent filed its answer on September 21, 2020,

see ECF No. 7; and
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     WHEREAS, Petitioner requests an extension of time to file a

traverse, see ECF No. 9,

     THEREFORE, IT IS on this      6th    day of November, 2020

     ORDERED that Petitioner’s request for an extension, ECF No.

9, is granted.   The traverse is due on or before November 30,

2020.


                                           s/ Noel L. Hillman
At Camden, New Jersey                    NOEL L. HILLMAN, U.S.D.J.




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